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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                     :
                                             :
       v.                                    :
                                             :         Case No. 1:21-cr-648 (RBW)
ADAM JOHNSON,                                :
                                             :
                Defendant.                   :

                                     NOTICE OF FILING

       The United States, by and through its attorney, the United States Attorney for the District

of Columbia, hereby gives notice that the government intends to provide the below exhibits,

which were cited in the government’s Sentencing Memorandum, to the Court at the sentencing

hearing in the above-captioned matter. These exhibits have been provided to the defense:

   •   Exhibit 1 – a short clip depicting Johnson from a Washington Post digital montage

       entitled “How a Pro-Trump Mob Was Able to Breach Security and Storm the Capitol”;

   •   Exhibit 2 (known by Document ID LWG-010-00000016) – a video recorded by a rioter

       on Capitol grounds shortly before Mr. Johnson climbed the scaffolding set up for the

       presidential inauguration at the Capitol;

   •   Exhibit 3 – a video recorded by Capitol Breach defendant, John Sullivan, which was

       previously available online under the title “Shooting and Storming Of The US Capitol In

       Washington DC”;

   •   Exhibit 4 – CCTV surveillance footage depicting the Speaker’s office suite hallway;

   •   Exhibit 5 – CCTV surveillance footage depicting Mr. Johnson carrying the Speaker’s

       podium through the Rotunda;




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•   Exhibit 6 – CCTV surveillance footage depicting a mob breaching a line of police

    guarding the entryway to the House Chamber;

•   Exhibit 7 (known by Document ID LWG-009-00000040) – a video recorded by a rioter

    depicting another angle of the assault on law enforcement by the House Chamber

    entryway;

•   Exhibit 8 (known by Document ID LWG-009-00000101) – a video depicting Johnson

    amidst the rioters attempting to break down the House Chamber doors;

•   Exhibit 9 (known by Document ID LWG-009-00000166) – a video depicting Johnson

    stating that a bust of George Washington would make a “great battering ram”; and

•   Exhibit 10 (known by Document ID LWG-009-00000105) – a video depicting Johnson

    and rioters near the House Chamber doors as a fire extinguisher is discharged on officers.



                                         Respectfully submitted,

                                         MATTHEW GRAVES
                                         UNITED STATES ATTORNEY



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